                                                                                                                                                                                                 Page:       1

                                                                                     FORM 1
                                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                  ASSET CASES
Case No:             16-03729                       FPC7         Judge:        Frederick P Corbit                          Trustee Name:                      Kevin O'Rourke
Case Name:           Dean Joseph Bellamy                                                                                   Date Filed (f) or Converted (c):   12/01/2016 (f)
                                                                                                                           341(a) Meeting Date:               01/03/2017
For Period Ending:   09/30/2018                                                                                            Claims Bar Date:                   08/30/2017


                                  1                                           2                            3                            4                          5                             6

                         Asset Description                                  Petition/                Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                     Unscheduled            (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                            Values                Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                      Exemptions,                                                                              Assets
                                                                                                    and Other Costs)

  1. 18718 N Leslie Lane                                                          650,000.00                        0.00                                                       0.00                        FA
     Colbert Wa 99005-0000 Spokane
  2. 2628 E. Hoffman (2704 E Hoffman-Wrong address)                                90,000.00                        0.00                                                       0.00                        FA
     Spokane Wa 9
  3. 2008 Lexus Ls 460                                                              5,000.00                        0.00                                                       0.00                        FA
  4. 2008 Ford F450 Blown Motor- Being Stored At Holland                            2,000.00                        0.00                                                       0.00                        FA
     Automot
  5. 2004 Duckworth 22 Foot Fishing Boat                                           50,000.00                        0.00                                                       0.00                        FA
  6. 2009 Canam 4 Wheeler                                                           1,200.00                        0.00                                                       0.00                        FA
  7. Sofa X 2 300, 2 Chairs 100, Coffee Table 50, Tv 100, Lamp                      4,495.00                        0.00                                                       0.00                        FA
     10
  8. Computer Mac 15 Years Old 100, Ipad 250, Mac Book Air                          1,150.00                        0.00                                                       0.00                        FA
     450, I
  9. 2 Prints By Dan Rickards Fly Fishing                                                50.00                      0.00                                                       0.00                        FA
 10. Camping 25, Fishing Rods X 4 160, Lures 70.                                        255.00                      0.00                                                       0.00                        FA
 11. Remington 30.06                                                                    100.00                      0.00                                                       0.00                        FA
 12. Glock Handgun                                                                      200.00                      0.00                                                       0.00                        FA
 13. Remington 22 With Bushnell Scope                                                   100.00                      0.00                                                       0.00                        FA
 14. Gun Safe                                                                           150.00                      0.00                                                       0.00                        FA
 15. Clothing                                                                           500.00                      0.00                                                       0.00                        FA
 16. Tools Hand Tools Worm Drive 50, Skil Saw 40, Sawzall 50,                           705.00                      0.00                                                       0.00                        FA
     Hol
 17. Checking: Riverbank                                                                 10.00                      0.00                                                       0.00                        FA
 18. Checking and Savings: Numerica                                                      10.00                      0.00                                                       0.00                        FA
 19. Wrongful Termination & Loss Of Future Business Income                         Unknown                     Unknown                 OA                                      0.00                        FA
 20. Park Road East LLC-Debtor Had A 33% Interest In The LLC.                      40,000.00                   Unknown                 OA                                      0.00                        FA
 21. Civil Liberty Case Against Spokane County Sheriff.                            Unknown                     Unknown                 OA                                      0.00                        FA




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                                                                                            FORM 1
                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES
Case No:               16-03729                        FPC7           Judge:        Frederick P Corbit                           Trustee Name:                      Kevin O'Rourke
Case Name:             Dean Joseph Bellamy                                                                                       Date Filed (f) or Converted (c):   12/01/2016 (f)
                                                                                                                                 341(a) Meeting Date:               01/03/2017
For Period Ending:     09/30/2018                                                                                                Claims Bar Date:                   08/30/2017


                                    1                                               2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

 22. 89,000 shares of Riverbank Holding Company Stock (u)                                      0.00                 178,000.00                                                178,000.00                         FA
 23. Fraudulent Transfer of 2002 Crownline 225 Bowrider (u)                                    0.00                  15,000.00                                                  8,700.00                         FA
 24. Void-Same as asset #2. Address on Petition in error.                                      0.00                       N/A                                                        0.00                        FA
 25. Fraudulent Transfer of 2009 Canam 4 Wheeler (Asset #6) and                            7,200.00                   7,200.00                                                       0.00                   7,200.00
     Utility Trailer (u)


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $853,125.00              $200,200.00                                                 $186,700.00                   $7,200.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  On April 26, 2018, the Court entered the Order Approving Sale of Boat and Trailer by Public Auction Free and Clear of Any Claims, Liens, or Interests, and Shortening Time
  Period to Object [ECF 86]. Trustee is investigating and analyzing potential fraudulent transfers for the benefit of creditors of the estate. (10.30.18 KDO)

  On October 20, 2017, Trustee obtained an Order Granting Chapter 7 Trustee's Motion Authorizing the Sale and Transfer of Estate Property Free and Clear of All Claims, Liens,
  or Interests [Docket No. 58], authorizing Trustee to sell the Estate's interest in 89,000 shares of River Bank Holding Company stock for the sales price of $178,000.00. Trustee is
  also trying to recover and/or settle the fraudulent transfer of a 2002 Crownline 225 Bowrider boat for the benefit of creditors of the estate. (10.26.17 KDO)

  On or about April 20, 2018, Trustee sold the 2002 JTC boat, VIN JTC47744E202, pursuant to the Order Approving Sale of Boat and Trailer by Public Auction Free and Clear of
  Any Claims, Liens, or Interests, and Shortening Time Period to Object entered by the Court on April 26, 2018 [ECF 86].




  Initial Projected Date of Final Report (TFR): 12/28/2018            Current Projected Date of Final Report (TFR): 12/31/2019

  Trustee Signature:       /s/ Kevin O'Rourke        Date: 10/31/2018
                           Kevin O'Rourke
                           Southwell & O'Rourke, P.S.
                           421 W. Riverside Avenue, Suite 960
                           Spokane, WA 99201
                           kevin@southwellorourke.com




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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 16-03729                                                                                         Trustee Name: Kevin O'Rourke
      Case Name: Dean Joseph Bellamy                                                                                    Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX5339
                                                                                                                                        Checking
  Taxpayer ID No: XX-XXX2507                                                                           Blanket Bond (per case limit): $78,753,461.00
For Period Ending: 09/30/2018                                                                          Separate Bond (if applicable):


       1                2                           3                                             4                                                     5                   6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                            ($)
   11/01/17            22       James T. Welsh                           Bellamy Stock                                         1229-000                $44,500.00                                $44,500.00
                                5423 S Quail Ridge Cir
                                Spokane, WA 99223-6387
   11/07/17            22       Casey Colley                             Proceeds from Sale of 22,250                          1129-000                $44,500.00                                $89,000.00
                                3130 Barona Road                         RB Stocks from Dean Bellamy
                                Palm Springs, CA 92264                   Estate
   11/14/17            22       William J. Lawson                        Proceeds from Sale of 22,250                          1129-000                $44,500.00                               $133,500.00
                                                                         RB Stocks from Dean Bellamy
                                                                         Estate per Order [Dkt 58]
   11/14/17            22       Ronald and Barbara Wachter               Proceeds from Sale of 22,250                          1129-000                $44,500.00                               $178,000.00
                                                                         RB Stocks from Dean Bellamy
                                                                         Estate per Order [Dkt 58]
   12/26/17                     Union Bank                               Bank Service Fee under 11                             2600-000                                         $179.22         $177,820.78
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   01/25/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                         $264.51         $177,556.27
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   02/26/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                         $264.21         $177,292.06
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   03/26/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                         $238.32         $177,053.74
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   04/25/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                         $263.44         $176,790.30
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   05/23/18            23       Reinland Equipment Auction               Auction Proceeds per Order                            1229-000                  $8,700.00                              $185,490.30
                                PO Box 2545                              Approving Sale of Boat and
                                Post Falls, ID 83877                     Trailer by Public Auction Free
                                                                         and Clear of Any Claims, Liens,
                                                                         or Interests, and Shortening
                                                                         Time Period to Object [ECF 86]
   05/25/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                         $254.59         $185,235.71
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)




                                                                                Page Subtotals:                                                       $186,700.00            $1,464.29

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                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 16-03729                                                                                         Trustee Name: Kevin O'Rourke
      Case Name: Dean Joseph Bellamy                                                                                   Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX5339
                                                                                                                                      Checking
  Taxpayer ID No: XX-XXX2507                                                                         Blanket Bond (per case limit): $78,753,461.00
For Period Ending: 09/30/2018                                                                        Separate Bond (if applicable):


       1                2                         3                                              4                                                    5                   6                     7

Transaction Date    Check or            Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                            ($)
   06/25/18                     Union Bank                              Bank Service Fee under 11                             2600-000                                        $266.01         $184,969.70
                                                                        U.S.C. 330(a)(1)(B), 503(b)
                                                                        (1), and 507(a)(2)
   07/25/18                     Union Bank                              Bank Service Fee under 11                             2600-000                                        $266.36         $184,703.34
                                                                        U.S.C. 330(a)(1)(B), 503(b)
                                                                        (1), and 507(a)(2)
   08/27/18                     Union Bank                              Bank Service Fee under 11                             2600-000                                        $274.83         $184,428.51
                                                                        U.S.C. 330(a)(1)(B), 503(b)
                                                                        (1), and 507(a)(2)
   09/25/18                     Union Bank                              Bank Service Fee under 11                             2600-000                                        $274.46         $184,154.05
                                                                        U.S.C. 330(a)(1)(B), 503(b)
                                                                        (1), and 507(a)(2)


                                                                                                        COLUMN TOTALS                               $186,700.00            $2,545.95
                                                                                                              Less: Bank Transfers/CD's                    $0.00                $0.00
                                                                                                        Subtotal                                    $186,700.00            $2,545.95
                                                                                                              Less: Payments to Debtors                    $0.00                $0.00
                                                                                                        Net                                         $186,700.00            $2,545.95




                                                                               Page Subtotals:                                                             $0.00           $1,081.66

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                                                                                                  TOTAL OF ALL ACCOUNTS
                                                                                                                                                   NET              ACCOUNT
                                                                                                                NET DEPOSITS         DISBURSEMENTS                  BALANCE
                                                  XXXXXX5339 - Checking                                            $186,700.00                $2,545.95            $184,154.05
                                                                                                                   $186,700.00                $2,545.95            $184,154.05

                                                                                                              (Excludes account     (Excludes payments     Total Funds on Hand
                                                                                                                      transfers)             to debtors)
                                                  Total Allocation Receipts:                          $0.00
                                                  Total Net Deposits:                           $186,700.00
                                                  Total Gross Receipts:                         $186,700.00



Trustee Signature:   /s/ Kevin O'Rourke   Date: 10/31/2018

                     Kevin O'Rourke
                     Southwell & O'Rourke, P.S.
                     421 W. Riverside Avenue, Suite 960
                     Spokane, WA 99201
                     kevin@southwellorourke.com




                                                                           Page Subtotals:                                            $0.00                $0.00

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